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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
KCM:JSR                                            610 Federal Plaza
F. #2024R00854                                     Central Islip, New York 11722



                                                   December 11, 2024


By Email and ECF

Evan Sugar
Federal Defenders of New York, Inc.
770 Federal Plaza
Central Islip, NY 11722
evan_sugar@fd.org


              Re:      United States v. Renee Hoberman
                       Criminal Docket No. 24-463 (JS)

Counsel:

               Enclosed on USAfx, please find the government’s discovery in accordance with
Rule 16 of the Federal Rules of Criminal Procedure. Specifically, the government is providing
you with documents and items bates numbered RH000001 – RH000010 via a shareable site,
USA File Exchange. The government also requests reciprocal discovery from the defendant.

                Please be advised that you must download the materials from USA File
Exchange within 60 days from the date they were uploaded. The USA File Exchange is not
a storage site, and the materials are automatically deleted within 60 days.

I.     The Government’s Discovery

                    Bates Range                                  Description
     Cellebrite Records                       RH000001
     Records obtained from Optimum            RH000002 - RH000007
     Records obtained from Verizon            RH000008 - RH000010
     Statements made by the Defendant         RH000011 – RH000017
     Search Warrant                           RH000018 – RH000071

               The government is also in possession of additional images and data obtained
through a review of the devices seized from the defendant, which have not been produced
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pursuant to 18 U.S.C. § 3509. You may examine this evidence, as well as any original copies of
the documents identified supra, by calling me to arrange a mutually convenient time.

       A.      Reports of Examinations and Tests

              The government will provide you with copies of any additional reports of
examinations or tests in this case as they become available.

       B.      Expert Witnesses

                 The government will comply with Fed. R. Crim. P. 16(a)(1)(G) and Fed. R. Evid.
702, 703 and 705 and notify you in a timely fashion of any expert that the government intends to
call at trial and provide you with a summary of the expert’s opinion.

              The identity, qualifications, and bases for the conclusions of each expert will be
provided to you when they become available.

       C.      Brady Material

              The government is not aware of any exculpatory material regarding the
defendants. The government understands and will comply with its continuing obligation to
produce exculpatory material as defined by Brady v. Maryland, 373 U.S. 83 (1963), and its
progeny.

               Before trial, the government will furnish materials discoverable pursuant to Title
18, United States Code, Section 3500, as well as impeachment materials. See Giglio v. United
States, 405 U.S. 150 (1972).

       D.      Other Crimes, Wrongs or Acts

                  The government will provide the defendant with reasonable notice in advance of
trial if it intends to offer any material under Fed. R. Evid. 404(b).

II.    The Defendant’s Required Disclosures

                The government hereby requests reciprocal discovery under Rule 16(b) of the
Federal Rules of Criminal Procedure. The government requests that the defendant allow
inspection and copying of (1) any books, papers, documents, data, photographs, tapes, tangible
objects, or copies or portions thereof, that are in the defendant’s possession, custody or control,
and that the defendant intends to introduce as evidence or otherwise rely on at trial, and (2) any
results or reports of physical or mental examinations and of scientific tests or experiments made
in connection with this case, or copies thereof, that are in the defendant’s possession, custody or
control, and that the defendant intends to introduce as evidence or otherwise rely upon at trial, or
that were prepared by a witness whom the defendant intends to call at trial.

              The government also requests that the defendant disclose prior statements of
witnesses who will be called by the defendant to testify. See Fed. R. Crim. P. 26.2. In order to

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avoid unnecessary delays, the government requests that the defendant have copies of those
statements available for production to the government no later than the commencement of trial.

               The government also requests that the defendant disclose a written summary of
testimony that the defendant intends to use as evidence at trial under Rules 702, 703, and 705 of
the Federal Rules of Evidence. The summary should describe the opinions of the witnesses, the
bases and reasons for the opinions, and the qualification of the witnesses.

                Pursuant to Fed. R. Crim. P. 12.3, the government hereby demands written notice
of the defendant’s intention, if any, to claim a defense of actual or believed exercise of public
authority, and also demands the names and addresses of the witnesses upon whom the defendant
intends to rely in establishing the defense identified in any such notice.

               III.    Future Discussions

                If you have any questions or requests regarding further discovery or a disposition
of this matter, please do not hesitate to contact me.

                Please be advised that, pursuant to the policy of the Office concerning plea offers
and negotiations, no plea offer is effective unless and until made in writing and signed by
authorized representatives of the Office. In particular, any discussion regarding the pretrial
disposition of a matter that is not reduced to writing and signed by authorized representatives of
the Office cannot and does not constitute a “formal offer” or a “plea offer,” as those terms are
used in Lafler v. Cooper, 132 S. Ct. 1376 (2012), and Missouri v. Frye, 132 S. Ct. 1399 (2012).


                                                       Very truly yours,

                                                       BREON PEACE
                                                       United States Attorney

                                              By:              /s/
                                                       Kaitlin C. McTague
                                                       Assistant U.S. Attorney
                                                       (631) 715-7878

Enclosures

cc:    Clerk of the Court (JS) (by ECF) (without enclosures)




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